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                      IN THE UNITED STATES DISTRICT COURT

                       DISTRICT OF UTAH, CENTRAL DIVISION


LARADA SCIENCES, INC., a Delaware
Corporation,                                       STIPULATED MOTION FOR ENTRY
                                                   OF STIPULATED PROTECTIVE
               Plaintiff/Counterdefendant,         ORDER
v.
                                                   Case No.: 2:18-cv-00551-RJS-PMW
PEDIATRIC HAIR SOLUTIONS
CORPORATION, a North Carolina                      Judge Robert J. Shelby
Corporation,                                       Magistrate Judge Paul M. Warner

               Defendant/Counterclaimant.




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       Pursuant to Rule 26(b)(1)(A) of the Federal Rules of Civil Procedure and Local Rule 26-

2(a)(1), Plaintiff/Counterdefendant Larada Sciences, Inc. (“Larada”) and

Defendant/Counterclaimant Pediatric Hair Solutions Corporation (“PHS”) hereby stipulate and

respectfully move the Court to enter the proposed Stipulated Protective Order attached hereto as

Exhibit 1.

       DATED this 27th day of February, 2019.




                                            /s/ Nathan R. Marigoni
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